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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                             ECF CASE
STEVEN E. GREER,MD,

                                Plaintiff,                             CIVIL ACTION NO.
                                                                      15 CV 6119(AJN)(JLC)
        -against-
                                                                 LANDLORD DEFENDANTS'
DENNIS MEHIEL,ROBERT SERPICO,THE                                   FIRST REQUEST FOR
                                                               PRODUCTION OF DOCUMENTS
BATTERY PARK CITY AUTHORITY,HOWARD
MILSTEIN,STEVEN ROSSI,JANET MARTIN,
MILFORD MANAGEMENT,and MARINERS COVE
SITE B ASSOCIATES,

                                 Defendants.

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, defendants Howard

Milstein, Steven Rossi, Janet Martin, Milford Management, and Mariners Cove Site B

Associates ("MCSBA") (collectively "Landlord Defendants") hereby request that plaintiff

Steven E. Greer, MD ("Plaintiff') produce the following documents, electronically stored

information, and/or things for inspection or copying on or before March 1, 2017 at 5:00 p.m., at

the offices of the undersigned. The following definitions and instructions shall apply to the

requests set forth below:

                                             DEFINITIONS

                    1.     "Plaintiff," "You" and "Your" means plaintiff Steven E. Greer, MD, and

 all other Persons or entities acting or purporting to act, directly or indirectly, on Your behalf.

                    2.     "BPCA Defendants" means Robert Serpico and/or The Battery Park City

 Authority in their own right, as well as any officers, principals, directors, employees, agents

(including independent contractors), general or limited partners, members, successors, and




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assigns of BPCA Defendants, anyone acting or purporting to act on behalf of such persons or

entities, and all subsidiaries and affiliates of BPCA Defendants.

                  3.      "BPCA" means The Battery Park City Authority in its own right, as well

as any officers, principals, directors, employees, agents (including independent contractors),

general or limited partners, members, successors, and assigns of BPCA, anyone acting or

purporting to act on behalf of such persons or entities, and all subsidiaries and affiliates of
;. .

                  4.      "Landlord Defendants" means Howard Milstein, Steven Rossi, Janet

Martin, Milford Management, and Mariners Cove Site B Associates, in their own right, as well

as any officers, principals, directors, employees, agents (including independent contractors),

general or limited partners, members, successors, and assigns of Landlord Defendants, anyone

acting or purporting to act on behalf of such persons or entities, and all subsidiaries and affiliates

of Landlord Defendants.

                  5.      "Defendants" means Landlord Defendants and BPCA Defendants

collectively.

                  6.      "Building" means the building known as Liberty Court located at 200

Rector Place, New York, New York.

                  7.      "Premises" means Apartment # 35F in the Building.

                  8.      "Complaint" means the Corrected Amended Complaint filed by Plaintiff

in the above-captioned action on November 4, 2016.

                  9.      "Answer' means Landlord Defendants" Answer dated and electronically

filed in the above-captioned action on January 26, 2017.




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                  10.     "Lease" shall mean the written lease agreement entered into between

MCSBA, as landlord, and Plaintiff, as tenant, dated February 21, 2002, as amended from time to

time.

                  11.     "Initial Disclosures" means the document titled Initial Disclosures, dated

January 30, 2017, served by Plaintiff on Landlord Defendants pursuant to Rule 26(a)(1) of the

Federal Rules of Civil Procedure.

                  12.     "Concerning," "regarding," "related to," and "relate to" mean relating to,

referring to, describing, evidencing or constituting.

                  13.     "Person" or "Persons" means any natural person or any legal entity,

including, without limitation, any business or governmental entity or association.

                  14.     "Document" or "Documents" is used herein in its broadest sense and

includes, but is not limited to, every original or draft thereof including, but not limited to, all

discarded drafts, and drafts with corrections, revisions or comments written or typed on them

(and every copy of any original or draft thereof or copy which differs in any way from any

original) of every writing or recording of every kind or description, whether handwritten, typed,

drawn, sketched, printed or recorded by any physical, mechanical, or electronic means

whatsoever, including, without limitation, records, papers, letters, correspondence, and related

envelopes, work sheets and work papers of any kind, reports, lists, studies, notes, evaluations,

statistical records, analyses, summaries, ledger accounts, audits, inventories, tax returns,

financial statements, profit and loss statements, monthly statements, procedures, manuals, cash

flow statements, balance sheets, annual or other periodic reports, licenses, permits, calendars,

appointment books, notebooks, diaries, telephone bills and toll call records, telephone logs,

expense reports, travel and expense records, vouchers, itineraries, agendas, pay roll records,



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receipts, contracts, agreements, and other forms of understanding, instruments of assigmnent,

applications, offers, acceptances, proposals, financing statements, Documents of title, appraisals,

purchase orders, invoices, directives, suininaries or memoranda of telephone conversations,

summaries, records, notes, memoranda or minutes of personal conversations, interviews or

meetings, memoranda, instructions, projections, tabulations, bank records and statements, check

books, cancelled checks and all bank vouchers or retained copies of all debit memos and other

banking advances and bank communications, telegrams, cablegrams, telex messages, teletypes,

facsimiles, computer files, e-mail, photographs, photographic slides or negatives, audio and/or

videotapes and recordings or taping of any kind.

                  15.     "Communication" or "Coininunications" means every manner or means of

disclosure, transfer or exchange, and every disclosure, transfer or exchange of information,

whether orally, by Document, face-to-face, by telephone, by facsimile, by mail, by e-snail, by

personal delivery or otherwise.

                  l6.     To "identify" a Person means to give, to the extent known, the Person's

full name, present or last known address and phone number, and when referring to a natural

Person, additionally, the last known place of emplo}nnent. Once a Person has been identified in

accordance with this paragraph, only the naive of that Person need be listed in response to

subsequent discovery requesting the identification of that Person.

                  17.     "Including' means "including but not limited to."

                                          INSTRUCTIONS

                  1.      In addition to the specific instructions set forth below, these requests

incorporate by reference the instructions set forth in Rule 34 of the Federal Rules of Civil

Procedure.



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                 2.       You are obligated to produce all responsive Documents in Your

possession, custody, or control within the broadest meaning of those terms under the Federal

Rules of Civil Procedure.

                  3.      For each item or category, the response must either state that inspection

and related activities will be permitted as requested or state with specificity the grounds for

objecting to the request, including the reasons. If no Documents exist that are responsive to a

particular request, state in writing that no responsive Documents exist.

                  4.      If You know or believe that there may be, or were, Documents otherwise

responsive to a particular request, but which no longer exist and/or are no longer in Your

possession, custody, or control, state so in Your response to that request and explain why those

Documents no longer exist and/or are no longer in Your possession, custody, or control.

                  5.      Documents should be produced either (a) in a manner that is organized to

indicate to which requests) they are responsive, or (b) as they are kept in the ordinary course of

business and in full and un-redacted form, and in either case documents produced should identify

the file from which each Document was taken.

                  6.      Each Document should be produced to include all attachments and

enclosures referred to in that Document or originally attached to or enclosed with that Document.

                  7.      If any requested Document is subject to destruction under any document

retention or destruction policy, practice, or procedure, that Document should be exempted from

any scheduled destruction until the conclusion of this action, including all appeals.

                  8.      If You cannot respond fully, or if You object in part, to any request, You

should respond to the greatest extent possible and as narrowed to conform to Your objection(s).




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                 9.       In construing these requests, You should give effect to the Definitions set

forth above. Undefined words and terms should be given their common meaning. If You are

unsure of the definition of a particular word or term, You should use the definition that You

believe to be the most accurate and state that definition in Your response.

                  10.     Documents produced should be numbered consecutively, with a prefix

identifying the name of the producing entity. For every Document produced, indicate the

custodian from whose custody or possession that Document was collected.

                  11.     Electronically stored information ("ESI") shall be produced in its native

format and shall be delivered to Plaintiff on a CD,USB storage device, or via an FTP server.l In

the event production of ESI in its native format is impossible, Defendant shall provide an

affidavit to that effect specifying which Documents) cannot be produced in its native format,

and pictures or scans of such Documents (TIFF, PDF, etc.) shall be created and produced after

consultation with the undersigned attorney.

                  12.     If any Document is withheld from production in whole or in part based on

a claim of privilege, You should provide a privilege log consistent with Rule 26(b)(5)(A) of the

Federal Rules of Civil Procedure. At a minimum, the privilege log should specify, as to each

Document:

                          (a)      the date;

                          (b)      author(s);

                          (c)      recipient(s);
                          (d)      the basis for withholding, including the nature of the privilege
                                   asserted; and


1 In the event You use "e-discovery" software in responding to this or future requests for discoverable material, in
     addition to producing each Document as a native file, electronically produced Documents shall include
     corresponding image files, text or"OCR" files, and load files with delimiting characters, for purposes of upload
     to the undersigned attorney's "e-discovery" software.

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                          (e)    a description of the nature of the Document sufficient to allow
                                 Defendants and the Court to assess the applicability of the
                                 privilege.

                  13.     Unless otherwise noted, these requests seek Documents, Communications,

and/or information created, revised, transmitted, or reviewed during the time period August 1,

2010 to the present.

                  14.     The terms "and" and "or" should be construed either disjunctively or

conjunctively as necessary to bring within the scope of these requests any information or

Documents which might otherwise be outside their scope.

                  15.     The terms "all," "any," and "each" shall each be construed as

encompassing any and all, so as to bring within the scope of these requests any information or

Documents which might otherwise be outside their scope. Unless otherwise indicated, a request

for "Documents" should be construed as a request for "any and all Documents."

                  16.     The use of the singular form includes the plural and vice versa, any use of

gender includes both genders, and any verb tense includes all other verb tenses.

                  17.     These requests axe continuing in nature, and You are required to amend or

supplement Your response and Your production if You later become aware of facts or

Documents indicating that any prior response to any request was incorrect or incomplete.

                                     DOCUMENT REQUESTS

                  1.      All Documents and Communications between You and any or all of the

BPCA Defendants, including but not limited to employees ofBPCA not named as Defendants.

                  2.      All Documents and Communications between You and any or all of the

Landlord Defendants, including but not limited to employees of MCSBA and Milford

Management not named as Defendants, including but not limited to doormen, porters, and

security guards employed at the Building.

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                  3.      All Documents and Communications between You and any other

Persons) supporting the first cause of action in the Complaint.

                  4.      All Documents and Communications between You and Vince McGowan.

                  5.      All Documents and Communications provided to You by Vince

McGowan Concerning the first cause of action in the Complaint.

                  6.      Documents and Communications evidencing Vince McGowan's current

address, phone number, and email address.

                  7.      All Documents and Communications between You and Kirk Swanson.

                  8.      All Documents and Communications provided to You by Kirk Swanson

Concerning the first cause of action in the Complaint.

                  9.      Documents and Communications evidencing Kirk Swanson's current

address, phone number, and email address.

                  10.     Identify any and all witnesses that have communicated information to You

that supports Your first cause of action in the Complaint.

                  11.     All Documents and Communications Concerning or supporting Your

allegation that "Plaintiff was paying his rent in full," as set forth in paragraph 35 of the

Complaint.

                  12.     All Documents and Communications Concerning Your payment of rent

pursuant to the Lease, including but not limited to cancelled checks and bank statements.

                  13.     All Documents and Communications relating to any rent demands or other

demands or requests for the payment of past-due rent, whether written or oral, served upon,

transmitted to or otherwise made to You, with respect to the Premises.




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                  14.     All Documents and Communications evidencing that BPCA Defendants

conspired with Landlord Defendants to cause Your eviction from the Premises.

                  15.     All Documents and Communications evidencing that Your eviction "was

clearly retaliation for[Your] news reporting," as set forth in paragraph 35 ofthe Complaint.

                  16.     All Documents and Communications Concerning articles, "blog posts,"

and/or other content published on the website www.batterypark.ty, andJor published in any other

websites or publications, Concerning Defendants.

                  17.     All Documents and Communications Concerning articles, "blog posts,"

and/or other content published on the website www.batterypark.ty, and/or any other websites or

publications that allegedly constitute "speech protected under the First Amendment," as set forth

in paragraph 111 ofthe Complaint.

                  18.     All Documents and Communications Concerning Your alleged damages

that resulted from the allegations in the first cause of action ofthe Complaint.

                  19.     All   Documents and    Communications Concerning         Your   alleged

compensatory damages that resulted from the allegations in the first cause of action of the

Complaint.

                  20.     All Documents and Communications Concerning Your economic

damages, as set forth in paragraph 2 of the "Injuries" section of the Complaint on page 33 of the

Complaint.

                  21.     All Documents and Communications evidencing that You were unable to

procure an aparhnent in New York City, including but not limited to applications You submitted

for residential occupancy of any apartment or other premises.




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                  22.     All Documents and Communications Concerning any stays in any hotel,

motel or similar lodging following Your eviction from the Premises.

                  23.     All Documents and Communications Concerning Your damages related to

the "undue embarrassment, humiliation, mental distress, anxiety, and depression" You allegedly

suffered, as set forth in paragraph 6 of the "Injuries" section of the Complaint on page 34 of the

Complaint("Medical Damages").

                  24.     All Documents and Communications Concerning Your medical records

Concerning any treatment You received in the past or are currently receiving Concerning Your

Medical Damages.

                  25.     All Documents and Communications Concerning prescriptions for

medications You currently take or previously took Concerning Your Medical Damages,

including but not limited to medications You currently take or previously took for treatment of

Your Medical Damages.

                  26.     All Documents and Communications relating to receipts for medical

expenses You incurred Concerning Your Medical Damages.

                  27.     All Documents and Communications relating to correspondence from any

doctors) treating Your Medical Damages.

                  28.     Duly   executed   and   acknowledged    written   HIPAA       compliant

authorizations to each and every one of Your physicians treating any and all conditions

Concerning Your Medical Damages in the form annexed hereto, permitting all parties to obtain

and make copies of all medical records referred to in Paragraphs 23 through 27 above.




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                  29.     All Documents and Communications Concerning any disability insurance

maintained by You or for Your benefit, including, without limitation, copies of any policies,

policy renewals, claims and payments made thereunder Concerning Your Medical Damages.

                  30.     All Documents and Communications Concerning the attorneys' fees,

costs, and expenses You seek to recover in this action as set for on page 36 ofthe Complaint.

                  31.     All Documents and Communications Concerning the allegation that the

sum of the alleged reduction in value to www.batterypark.ty allegedly caused by Defendants

"ranges from $7 Million to $100 Million," as set forth in the Initial Disclosures.

                  32.     All Documents and Communications Concerning revenue generated by

www.batterypark.ty and any other "media companies" owned in whole or in part by Plaintiff.

                  33.     All Documents and Communications Concerning the "website analytics"

of www.batterypark.ty and/or any other "media companies" owned in whole or in part by

Plaintiff, including but not limited to the number of "unique page views" received by

www.batterypark.ty and/or any other "media companies" owned in whole or in part by Plaintiff.

                  34.     All Documents and Communications Concerning the allegation that the

value of the reputation damages You allegedly suffered are $20,000,000, as set forth in the Initial

Disclosures.

                  35.     All Documents and Communications Concerning the allegation that the

cost of moving out ofthe Premises was $50,000, as set forth in the Initial Disclosures.

                  36.     All Documents and Communications Concerning the allegation that Your

damages for "mental anguish" are $1,000,000, as set forth in the Initial Disclosures.




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                  37.     All Documents and Communications Concerning the allegation that

damages related to Your "[1]oss of enjoyment of a NYC apartment" are $1,000,000, as set forth

in the Initial Disclosures.

                  38.     Your federal, state and local income tax returns.

                  39.     Your Internal Revenue Service Forms W-2 and/or 1099.

                  40.     All federal, state and local income tax returns Concerning Your practice of

medicine, including but not limited to any and all medical practices) in which You practiced)

medicine, regardless of whether said medical practices) is owned by You and/or other person(s).

                  41.     All Documents and Communications Concerning income and/or expense

records Concerning Your practice of medicine.

                  42.     All Documents and Communications Concerning the Lease, including,

without limitation, fully executed copies ofthe Lease and any renewals thereof.

                  43.     Copies of all photographs and/or videos, whether the original is in digital

ornon-digital format, that You intend to attempt to introduce into evidence at trial.

                  44.     Copies of all Documents and Communications You refer to in Your Initial

Disclosures.

                  45.     All other documents not specifically requested above which are relevant to

the first cause of action in the Complaint.

Dated: New York, New York
       February 7,2017
                                                   ROSENBERG & ESTIS,P.C.
                                                   Attorneysfor Landlord Defendants

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